          Case 2:24-cv-00719-JCC Document 13 Filed 07/24/24 Page 1 of 3




 1                                            THE HONORABLE JOHN C. COUGHENOUR

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 7                     UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
                                              )
 9                                            )   NO. 2:24-cv-00719-JCC
     LLOYD’S OF LONDON SYNDICATE              )
10   2987,                                    )
                                              )   [PROPOSED] ORDER GRANTING
11                  Plaintiff,                )   STIPULATED MOTION FOR STAY
           v.                                 )   PENDING CONCLUSION OF
12                                            )   UNDERLYING LAWSUIT
     EAGLE COUNTRY CONSTRUCTION,              )
13   INC., a Washington corporation;          )   NOTE ON MOTION CALENDAR:
     INNOVATIVE INVESTMENTS, INC. a           )   July 18, 2024 [LCR 7(d)(1)]
14   Washington corporation; MICHAEL J.       )
     HANSEN and ROCHELLE HANSEN,              )
15   individually and the marital community   )
     composed thereof; COLTON and             )
16   MORGAN PATTERSON, a married              )
     couple; DUSTIN KRENZ and RACHEL          )
17   STOKES, an unmarried couple; WILLIAM     )
     and KIMBERLY UNRAU, a married            )
18   couple; ALEX and LINDSAY CRAIG, a        )
     married couple; and GRETA and            )
19   ANTHONY CHEHREHGOSHA, a married          )
     couple,                                  )
20                                            )
                  Defendants.                 )
21                                            )
                                              )
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                                              )
25                                            )
                                              )
26                                            )


      [PROPOSED] ORDER GRANTING STIPULATED MOTION FOR STAY PENDING        MURPHY ARMSTRONG FIRM, LLP
                                                                        719 Second Avenue, Suite 701
      CONCLUSION OF UNDERLYING LAWSUIT - 1                                   Seattle, WA 98104
                                                                      T/206-985-9770 F/206-985-9790
              Case 2:24-cv-00719-JCC Document 13 Filed 07/24/24 Page 2 of 3




 1                                                       ORDER

 2            Plaintiff Lloyd’s of London Syndicate 2987 (“Underwriters”) and all Defendants: Eagle
 3
     Country Construction, Inc. (“Eagle Country”); Innovative Investments, Inc. (“Innovative”); Michael
 4
     J. Hansen and Rochelle Hansen (“the Hansens”); Colton Patterson; Morgan Patterson; Dustin
 5
     Krenz; Rachel Stokes; William Unrau; Kimberly Unrau; Alex Craig; Lindsay Craig; Greta
 6
     Chehrehgosha; and Anthony Chehrehgosha (“the Homeowner Defendants”), have stipulated to and
 7

 8   requested a stay of this declaratory judgment action until the conclusion of the Underlying Lawsuit.1

 9            The Court has reviewed the submission of the parties and finds that good cause exists to
10   enter this order. It is hereby ORDERED that this matter is stayed pending the conclusion of the
11
     Underlying Lawsuit. The Court’s Minute Order entered June 26, 2024 (Dkt. 11) is hereby vacated
12
     together with all associated case management deadlines.
13
              The parties shall advise the Court of the status of the Underlying Lawsuit every 90 days, or
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15   within 30 days of the conclusion of the Underlying Lawsuit.

16            DATED this 24th day of July 2024.
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20
                                                                    A
                                                                    John C. Coughenour
                                                                    UNITED STATES DISTRICT JUDGE
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26   1
      Patterson et al. v. Eagle Country Construction, Inc. et al., Snohomish County Superior Court under Case No. 20-2-
     04416-31.
         [PROPOSED] ORDER GRANTING STIPULATED MOTION FOR STAY PENDING                              MURPHY ARMSTRONG FIRM, LLP
                                                                                                    719 Second Avenue, Suite 701
         CONCLUSION OF UNDERLYING LAWSUIT - 2                                                            Seattle, WA 98104
                                                                                                  T/206-985-9770 F/206-985-9790
         Case 2:24-cv-00719-JCC Document 13 Filed 07/24/24 Page 3 of 3




 1      Presented by:

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 3      By: /s/ James P. Murphy
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           2987
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10
        Stipulated to and Notice
11      Of Presentation Waived:

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        William and Kimberly Unrau, Alex and Lindsay
26      Craig, and Greta and Anthony Chehrehgosha


     [PROPOSED] ORDER GRANTING STIPULATED MOTION FOR STAY PENDING    MURPHY ARMSTRONG FIRM, LLP
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